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AU‘.`J ll 8 2013

' ' IN THE UNITED sTATEs DISTRICT CoURT §$¥@“:“EF§' °'~E':"“
FoR THE NoRTHERN DISTRICT oF MISSISSIPPI f °°P" "
WESTERN DIVIsIoN
C-"Li`-:C‘\L.j)

GLORIA HOLMES PLAINTIFFS

 

VS.

GGNSC BATESVILLE, LLC D/B/A

GOLDEN LIVING CENTER; FRESENIUS

MEDICAL CARE SARDIS AND

JOHN AND JANE DOES I-X DEFENDANTS
NOTICE OF REMOVAL

COMES NOW Defendant GGNSC Batesville, LLC d/b/a Golden Living Center
(“GGNSC” or “Defendant”), by and through counsel, and files this its Notice of Removal
of this action to the United States District Court for the Northern District of Mississippi,
§‘v;e;rt;j\n- Division, and sets forth the following grounds for removal, to-Wit:

1. T his Notice of Removal is filed pursuant to 28 U.S.C. §§ 1332, 1441, and
1446.

2. Plaintiff Gloria Holmes (“Plaintift”) filed this action against Defendants on
or about March 19, 2013 in the Circuit Court of Panola County, Mississippi, Second
J udicial District. GGNSC Was served With process on or about July 9, 2013. Pursuant to
the provisions of §§ 1441 and 1446 of Title 28 of the United States Code, Defendant
timely removes this action to the United States District Court for the Northern District
of Mississippi, A;Z;;`\§e:i-Division, Which is the judicial district and division in which the

action is pending.

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3. The complaint asserts a claim for damages based upon alleged negligence,
medical malpractice and deviations from the standard of care by both defendants

4. Co-Defendant Fresenius Medical Care Sardis was served with process on
July 15, 2013 and will timely file a joinder in this removal.

5. Removal of this action to the United States District Court is proper under
28 U.S.C. § 1441(a) and (b), given that there is complete diversity of citizenship between
Plaintiff and the Defendants. The United States District Court would, therefore, have
had original jurisdiction of this matter pursuant to 28 U.S.C. § 1332 had the action
originally been filed in Federal Court. Defendant’s Notice of Removal is timely because
the Notice was filed in this Court within thirty (30) days after receipt by this Defendant
“of a copy of an amended pleading, motion, order or other paper from which it may first
be ascertained that the case is one which is or has become removable. . . “. 28 U.S.C. §
1446(b). Defendant files a copy of all process, pleadings and orders served on said
Defendant in the action.

WHEREFORE PREMISES CONSIDERED, Defendant GGNSC-Batesville, LLC
d/b/a Golden Living Center prays that this Court will exercise jurisdiction and proceed
with the handling and disposition of this case, and all claims asserted herein, and that
all further proceedings in the Circuit Court of Panola County, Mississippi, Second

J udicial District be hereby stayed.

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Respectfully submitted this the 8th day of August, 2013.

GGNSC-BATESVILLE, LLC D/B/A
GOLDEN LIVING CENTER,
Defendant;

By= l "
L. \ 'iEY DILLARD
Mississippi Bar No. 10114

OF COUNSEL:

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CERTIFICATE OF SERVICE
I, L. BRADLEY DILLARD, one of the attorneys for Defendant GGNSC-Batesville,
LLC do hereby certify that l have this date forwarded, via e-mail and United States Mail,
postage prepaid thereon, a true and correct copy of the above and foregoing Notice of
Removal to the following counsel:

R. Todd Willis, Jr., Esq.
John F. Hawkins, Esq.
Hawkins/Gibson, PLLC
P. O. Box 24627

Jackson, MS 39225-4627
john@hgattornevs.com
todd@hgattornevs.com

THIS the 8th day of August, 2013.

l '»‘,
j \.r

L. BRADLEY DILLARD

 

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